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   United States of America
 7

 8

 9                               IN THE UNITED STATES DISTRICT COURT

10
                                    EASTERN DISTRICT OF CALIFORNIA
11

12   UNITED STATES OF AMERICA,                           CASE NO. 2:12-CR-322 GEB

13                                Plaintiff,             STIPULATION AND [PROPOSED] ORDER
                                                         ADDING A CONDITION OF RELEASE
14                          v.

15   ALEKSANDR LASTOVSKIY, et al.,

16                                Defendants.

17

18

19                                    STIPULATION OF THE PARTIES
20          The parties, by and through the undersigned, hereby stipulate and agree to the following:

21          1. Defendant Aleksandr Lastovskiy (“Lastovskiy”) was released on bail and conditions imposed

22 by this Court on or about September 29, 2012.

23          2. Lastovskiy’s original conditions of release did not include a prohibition against contacting

24 potential witnesses in the above-entitled case.

25          3. The parties agree that an additional condition prohibiting Lastovskiy from contacting any

26 potential witnesses, in person, by telephone or text, or any other means, in the above-entitled case is
27 necessary and appropriate at this time.

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      STIPULATION AND [PROPOSED] ORDER                   1
30    ADDING A CONDITION OF RELEASE
              Case 2:12-cr-00322-JAM Document 177 Filed 09/26/17 Page 2 of 2

 1          4. The Pre-Trial Services department has no objection to an additional condition prohibiting

 2 Lastovskiy from contacting any potential witnesses in the above-entitled case.

 3 Dated: September 22, 2017                                PHILLIP A. TALBERT
                                                            United States Attorney
 4

 5                                                  By: /s/ HEIKO P. COPPOLA
                                                        HEIKO P. COPPOLA
 6                                                      Assistant United States Attorney
 7                                                           /s/ KEN GIFFARD
                                                            KEN GIFFARD
 8                                                          Attorney at Law
                                                            Counsel for Defendant Lastovskiy
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11
                                              [PROPOSED] ORDER
12

13          Having considered the above stipulation of the parties, the Court hereby orders that Defendant

14 Lastovskiy shall have no contact with any potential witnesses, in person, by telephone or text, or any

15 other means, in the above-entitled case.

16          A copy of the stipulation and order shall be provided to the following: Defendant Lastovskiy,

17 Defendant Lastovskiy’s assigned Pretrial Services Officer, and counsel for Defendant Lastovskiy.

18
     Dated: September 26, 2017
19                                                  _____________________________________
                                                    CAROLYN K. DELANEY
20                                                  UNITED STATES MAGISTRATE JUDGE
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      STIPULATION AND [PROPOSED] ORDER                  2
30    ADDING A CONDITION OF RELEASE
